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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al.,

                  Plaintiffs,

 v.                                       No. 20-cv-2340(EGS)

 DONALD J. TRUMP, in his
 official capacity as President
 of the United States, et al.,

                  Defendants.


                                  ORDER

      For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

      ORDERED the Plaintiffs’ Motion for Preliminary Injunction

is GRANTED; and it is further

      ORDERED that a Preliminary Injunction is hereby entered

against Defendants; and it is further

      ORDERED that pursuant to the Order, Defendants are HEREBY

ENJOINED from enforcing the Postal Policy Changes; and it is

further

  ORDERED that any request to stay this Order pending appeal

will be denied for the reasons stated in the accompanying

Memorandum Opinion.




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SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 27, 2020




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